747 F.2d 1194
    David DeSHANE, Individually, and David DeShane, as Fatherand Next Friend of David D. DeShane, Katherine D.DeShane, and Debra Ann DeShane, andDorothy DeShane, Appellants,v.DEERE &amp; COMPANY, Appellee.
    No. 83-1561.
    United States Court of Appeals,Eighth Circuit.
    Nov. 2, 1984.
    
      Before ROSS, McMILLIAN and BOWMAN, Circuit Judges.
    
    ORDER
    
      1
      The facts involved in this appeal are set forth in our prior opinion, DeShane v. Deere &amp; Co., 726 F.2d 443 (8th Cir.1984).  The district court1 had dismissed appellants' product liability action on the ground of forum non conveniens.  We vacated the order of the district court and remanded this case to the district court with directions to make further findings of fact and set forth the reasons supporting its decision to dismiss.
    
    
      2
      We have carefully reviewed the district court's order on remand2 and the parties' supplemental briefs.  We find no abuse of discretion and affirm the order of the district court dismissing the action on the ground of forum non conveniens.
    
    
      3
      Accordingly, the order of the district court is affirmed.  8th Cir.R. 14.
    
    
      
        1
         The Honorable William C. Stuart, Chief Judge, United States District Court for the Southern District of Iowa
      
      
        2
         DeShane v. Deere &amp; Co., No. 82-514-C (S.D.Iowa Sept. 4, 1984) (order on remand)
      
    
    